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           EXHIBIT 6
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
    IN RE PPDAI GROUP INC. SECURITIES                     No: 1:18-cv-06716-LDH-TAM
    LITIGATION
                                                          CLASS ACTION



 DECLARATION OF DAVID W. HALL IN SUPPORT OF PLAINTIFFS’ MOTION FOR
  AN AWARD OF ATTORNEYS’ FEES AND REIMBURSEMENT OF LITIGATION
           EXPENSES FILED ON BEHALF OF HEDIN HALL LLP

        I, David W. Hall, pursuant to 28 U.S.C. §1746, hereby declare as follows:

        1.     I am a partner with Hedin Hall LLP. I am one of Plaintiffs’ counsel in the State

Court Action.1 I submit this declaration in support of Plaintiffs’ application for an award of

attorneys’ fees, as well as for reimbursement of litigation expenses incurred in connection with the

Actions. I have personal knowledge of the facts set forth herein and, if called upon, could and

would testify thereto.

        2.     I, along with my firm, Hedin Hall LLP, as one of Plaintiffs’ counsel, have been

involved in all aspects of the State Court Action, from the initial work up and commencement of

the first-filed complaint, throughout the litigation, and through the mediation process leading to

the Settlement.

        3.     The information in this declaration regarding my firm’s time and expenses is taken

from records prepared and maintained by the firm in the ordinary course of business. I am the

partner who oversaw and conducted the day-to-day activities in the litigation and reviewed these

records (and backup documentation where necessary or appropriate). I believe that the time

reflected in my firm’s lodestar calculation and the expenses for which payment is sought (both set


1
       Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to
them in the Stipulation of Settlement, dated June 11, 2021 (ECF No. 64).



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forth in Exhibits 1 and 2) are reasonable in amount and were necessary for the effective and

efficient prosecution and resolution of the litigation. In addition, I believe that the expenses are

all of a type that would normally be charged to a fee-paying client in the private legal marketplace.

No time expended on the application for fees and reimbursement of expenses has been included.

         4.    The Lodestar Chart attached as Exhibit 1 summarizes the amount of time spent by

attorneys and professional support staff employees of my firm and the lodestar calculation for

those individuals based on my firm’s current billing rates.

         5.    The hourly rates for the attorneys and professional support staff in my firm as

shown in the Lodestar Chart are consistent with the rates approved by courts in other securities or

shareholder litigation.

         6.    The total number of hours reflected in the Lodestar Chart is 335.5 hours. The total

lodestar reflected in the Lodestar Chart is $234,850.00 for attorneys’ time. My firm’s lodestar

figures are based upon the firm’s billing rates, which rates do not include charges for expense

items. Expense items are billed separately and such charges are not duplicated in my firm’s billing

rates.

         7.    My firm’s expenses in connection with the prosecution of the litigation are

$2,200.00. The firm will be compensated for those expenses solely from the amount awarded by

the Court. Those expenses are summarized in Exhibit 2.

         8.    The expenses pertaining to this case are reflected in the books and records of my

 firm. These books and records are prepared from receipts, expense vouchers, check records, and

 other documents and are an accurate record of the expenses reasonably expended.

         9.    A copy of my firm’s resume is annexed hereto as Exhibit 3.




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       I declare, under penalty of perjury, that the foregoing is true and correct. Executed this

19th day of October 2021 in San Francisco, California..


                                            /s/ David W. Hall
                                            David W. Hall




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                              EXHIBIT 1
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                                     EXHIBIT 1


                              LODESTAR CHART

  TIMEKEEPER/CASE          STATUS            HOURS       RATE          LODESTAR
  ATTORNEYS:
  David W. Hall            Partner               335.5    $700          $234,850.00
  TOTAL ATTORNEY                                                        $234,850.00
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                              EXHIBIT 2
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                                  EXHIBIT 2


                               EXPENSE CHART


  ITEM                                                              AMOUNT
  AIRFARE/HOTEL/TAXI/MEALS                                           2,200.00
  GRAND TOTAL                                                        2,200.00
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                              EXHIBIT 3
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                                               FIRM RESUME

         1.      With offices in San Francisco, California and Miami, Florida, Hedin Hall LLP
 represents consumers and shareholders in data-privacy, financial services, and securities class actions
 in state and federal courts nationwide.
         2.      We prosecute difficult cases aimed at redressing injuries suffered by large, diverse
 groups of people, many of which implicate cutting-edge technologies and issues of national
 significance. Our work has led to meaningful, industry-wide changes for the betterment of society
 and, over the past nine years alone, has contributed to the recovery of over $1 billion for the aggrieved
 consumers and investors we have had the privilege to represent. Representative examples of our work
 include:

     •   City of Sterling Heights General Employees’ Retirement System v. Prudential Financial, Inc. (D. N.J.) ($33
         million settlement for class of aggrieved investors);
     •   Louisiana Municipal Police Employees’ Pension Fund v. KPMG, LLP, et al. (N.D. Ohio) ($32.6 million
         settlement for class of aggrieved investors);
     •   Cyan v. Beaver County Employees Retirement Fund, (U.S. Supreme Court) (9-0 victory for plaintiffs
         on issues of first impression related to concurrent jurisdiction, dual sovereignty, the Supremacy
         Clause, PSLRA, SLUSA, and the Securities Act removal bar)

     •   Wiley v. Envivio, Inc., et al. (Cal. Sup. Ct., San Mateo Cnty.) ($8.5 million settlement for class of
         aggrieved investors);
     •   In re MobileIron Shareholder Litig. (Cal. Sup. Ct., Santa Clara Cnty.) ($7.5 million settlement for
         class of aggrieved investors);
     •   In re Model N Shareholder Litig. (Cal. Sup. Ct., San Mateo Cnty.) ($8.55 million settlement for
         aggrieved class of investors);
     •   Xiang v. Inovalon Holdings, Inc., et al. (S.D.N.Y.) ($17 million settlement for aggrieved class of
         investors);
     •   Buelow v. Alibaba Group Holding Ltd., et al. (Cal. Sup. Ct., San Mateo Cnty.) ($75 million
         settlement for aggrieved class of investors).
         3.      Our founding partners, Frank S. Hedin and David W. Hall, have significant experience
 representing nationwide groups of people in disputes concerning shareholder rights, data privacy, and

 consumer protection. All of the firm attorneys and support staff are committed to representing
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 everyday people in complex class action litigation. Our shareholder rights practice, in particular, runs

 the gamut, from historic securities fraud class actions to pioneering recoveries in the wake of botched
 IPOs to the still emerging threat of crypto-currency fraud. We stay ahead of the curve by eschewing
 the assembly line approach of other firms. Fresh eyes and an open mind give us an edge, and it pays
 off for the individual and institutional investors we represent. Over the past 5 years alone, our
 attorneys have recovered over $500 million for aggrieved investors.
         4.      Frank S. Hedin, co-founder of the firm, manages the Miami office. He is a member in
 good standing of the Florida Bar and the State Bar of California and is admitted to practice in
 numerous federal district courts and circuit courts of appeals. Mr. Hedin received a Bachelor of Arts
 from University of Michigan, and a Juris Doctor, magna cum laude, from Syracuse University College of
 Law. After law school, Mr. Hedin served for fifteen months as law clerk to the Honorable William
 Q. Hayes, United States District Judge for the Southern District of California, one of the heaviest class
 action dockets in the country. Prior to establishing Hedin Hall LLP, Mr. Hedin was a partner at a
 notable litigation boutique in Miami, Florida, where he represented both plaintiffs and defendants in
 consumer and data-privacy class actions, employment-related collective actions, and patent and
 trademark litigation, and served as head of the firm’s class action practice.
         5.      David W. Hall is a founding partner of Hedin Hall LLP. He manages the firm’s San
 Francisco office. Before founding Hedin Hall LLP, Mr. Hall litigated cases for the largest plaintiffs’
 firm in the United States, where he developed, inter alia, state court Securities Act and data privacy
 class action practices. Earlier in his legal career, he was privileged to serve as a judicial law clerk to the
 Honorable Irma E. Gonzalez in the United States District Court for the Southern District of
 California, one of the heaviest class action dockets in the country. His responsibilities included civil
 and criminal trial dockets as well as panels of the United States Court of Appeals for the Ninth Circuit.
 Mr. Hall is a graduate of the University of California, Hastings College of the Law, cum laude, and the

 New England Conservatory of Music. At Hastings, he received a number of writing, examination, and

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 Moot Court competition awards, served as a Staff Editor of the Hastings Business Law Journal,

 worked as a teaching assistant in the Legal Writing & Research Department, and served as extern to
 the Honorable Joyce L. Kennard of the California Supreme Court.
        6.      Armen Zohrabian’s practice includes complex class action litigation including
 securities, antitrust and data privacy matters. Between 2012 and 2021, he worked on securities and
 antitrust matters in the San Francisco office of a prominent plaintiff-side class action firm where he
 helped achieve $229.5 million in settlements. Before joining the plaintiff's bar, he worked as an
 associate in the San Francisco office of a large international law firm, where his practice focused on
 complex commercial litigation, and where he represented several pro bono clients in parole hearings and
 in asylum applications. He graduated with honors from Wake Forest University with a Bachelor of
 Arts degree in Politics and Economics. He earned his Juris Doctor degree from the University of
 California at Berkeley School of Law, Boalt Hall, with a Certificate in Law and Technology. During
 law school, Armen was a member of the Berkeley Technology Law Journal, worked as a law clerk for the
 Federal Trade Commission, and served as a judicial extern for the Honorable Oliver W. Wanger in
 the United States District Court for the Eastern District of California. He has been on the Homeless
 Action Center’s board for over a decade. Based in Oakland and Berkeley, HAC provides no-cost,
 barrier-free, culturally competent legal representation that makes it possible for people who are
 homeless (or at risk of becoming homeless) to access social safety net programs that help restore
 dignity and provide sustainable income, healthcare, mental health treatment and housing.
        7.      Arun Ravindran is an accomplished trial lawyer, having tried more than twenty federal
 cases to jury verdict. He is dedicated to getting his clients the best possible results, even under the
 most challenging of circumstances. Before joining the firm, Mr. Ravindran litigated complex
 commercial cases at a prominent Florida law firm. Mr. Ravindran represented companies and
 individuals in a broad array of business disputes in state and federal courts around the country and

 also maintained a white-collar criminal defense practice which included grand jury representation

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 and pro bono post-conviction litigation under the First Step Act. Prior to civil practice, Mr. Ravindran

 served for nearly five years as an Assistant Federal Public Defender in the Southern District of
 Florida. He defended individuals charged with federal criminal offenses, from large narcotics
 conspiracies to investment schemes, international wire frauds, and health care fraud. Mr. Ravindran
 also represented clients on appeals before the Eleventh Circuit Court of Appeals, arguing two such
 appeals as lead counsel. Earlier in his career he was honored to serve as a law clerk to the Honorable
 Patricia A. Seitz, of the United States District Court for the Southern District of Florida. Through
 this experience, Mr. Ravindran gained unique insights into the deliberative process. Prior to his
 clerkship, Mr. Ravindran proudly served as a Captain in the United States Marine Corps. As a Judge
 Advocate he represented Marines and Sailors charged in courts-martial with violations of the Uniform
 Code of Military Justice. Mr. Ravindran graduated with a BA from Emory University in 2002 and an
 MSc. from the London School of Economics in 2003, and obtained his law degree from Emory Law
 School in 2007. He is admitted to the Florida and New York bars, the Southern District of Florida,
 the Southern District of New York, and the Eleventh Circuit Court of Appeals. Mr. Ravindran is a
 member of Class X of the Miami Foundation’s Miami Fellows program and serves on the Associate
 Board of Teach for America, Miami-Dade.
         8.      Our firm currently serves or has served as plaintiffs’ counsel in numerous data-privacy,
 financial services, and securities class actions nationwide. E.g., Luczak v. Nat’l Beverage Corp., No. 18-
 cv-61631-KMM (S.D. Fla.) (court-appointed counsel for class in action alleging violations of federal
 securities laws); Hoffman v. Stephenson, et al. (In re AT&T Sec. Litig.), Index No. 650797/2019 (N.Y. Sup.
 Ct., N.Y. Cnty.) (co-lead counsel for plaintiff class of investors asserting Securities Act claims arising
 from offering in connection with merger); Plymouth County Retirement System v. Impinj, Inc., et al., Index
 No. 650629/2019 (N.Y. Sup. Ct., N.Y. Cnty.) (co-lead counsel for plaintiff class of investors asserting
 Securities Act claims arising from initial and secondary public offerings; $20 million aggregate

 recovery); In re Dentsply Sirona Inc. S’holders Litig., Index No. 155393/2018 (N.Y. Sup. Ct., N.Y. Cnty.)

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 (counsel for plaintiff class of investors asserting Securities Act claims arising from offering in

 connection with merger); In re PPDAI Grp. Sec. Litig., Index No. 654482/2018 (N.Y. Sup. Ct., N.Y.
 Cnty.) (counsel for plaintiff class of investors asserting Securities Act claims arising from initial public
 offering; class settlement pending); In re Altice USA, Inc. Sec. Litig., Index No. 711788/2018 (N.Y. Sup.
 Ct., Queens Cnty.) (counsel for plaintiff class of investors asserting Securities Act claims arising from
 initial public offering; class settlement pending); Plutte v. Sea Ltd., Index No. 655436/2018 (N.Y. Sup.
 Ct., N.Y. Cnty.) (counsel for plaintiff class of investors asserting Securities Act claims arising from
 initial public offering; $10.75 million class recovery); In re EverQuote, Inc. Sec. Litig., Index No.
 650907/2019 (N.Y. Sup. Ct., N.Y. Cnty.) (counsel for plaintiff class of investors asserting Securities
 Act claims arising from initial public offering; $4.75 million class recovery); Wolther v. Maheshwari (In re
 Veeco Instruments, Inc. Sec. Litig.), Lead Case No. 18CV329690 (Cal. Sup. Ct., Santa Clara Cnty.) (counsel
 for plaintiff class of investors asserting Securities Act claims arising from offering in connection with
 merger); Huguelet v. Maxim Inc., No. 19-cv-4452-ALC (S.D.N.Y.) (recovery on behalf of consumers
 alleging disclosure of personal reading information in violation of Michigan’s Preservation of Personal
 Privacy Act (“PPPA”)); Kokoszki v. Playboy Enterpises, Inc., No. 19-cv-10302-BAF (E.D. Mich.) (same);
 Forton v. TEN: Publishing Media, LLC., No. 19-cv-11814-JEL (E.D. Mich.) (same); Kittle v. America’s
 Test Kitchen LP, No. 19-cv-11757-TGB (E.D. Mich.) (same); Lin v. Crain Communications Inc., No. 19-
 cv-11889-VAR (E.D. Mich.) (same); Markham v. Nat’l Geographic Partnr’s LLC, No. 19-cv-232-JTN
 (W.D. Mich.) (same); Horton, et al. v. GameStop Corp., et al., No. 18-cv-0596-GJQ (W.D. Mich.) (same);
 Owens, et al. v. Bank of America, N.A., et al., No. 19-cv-20614-MGC (S.D. Fla.) ($4.95 million class-wide
 settlement); Liggio v. Apple Federal Credit Union, No. 18-cv-1059-LO (E.D. Va.) ($2.7 million class-wide
 settlement).




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